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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                      :
 ZOHAR CDO 2003-1, LTD., et al.,                      :
                                                      :              17cv307
                Plaintiffs,                           :
                                                      :              ORDER
                -against-                             :
                                                      :
 PATRIARCH PARTNERS, LLC, et al.,                     :
                                                      :
                Defendants.                           :
                                                      :

WILLIAM H. PAULEY III, United States District Judge:

               In view of Zohar CDO 2003-1, Ltd., et al.’s notice of commencement of Chapter

11 cases, and by operation of the automatic stay under 11 U.S.C. § 362, this action is stayed.

(ECF No. 126.) Accordingly, this Court vacates the scheduling order (ECF No. 125) regarding

the parties’ anticipated motions on jurisdiction and interpleader.

               The parties are directed to provide a joint status report on Zohar’s Chapter 11

proceeding within 90 days of this Order.

Dated: March 14, 2018
       New York, New York
